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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 NA’EEM BETZ,

        Plaintiff,
                v.                                        No. 21-CV-1080-ABJ-ZMF
 MY COMPUTER CAREER,

        Defendant.




                                       Memorandum Opinion

       On August 16, 2021, Judge Amy Berman Jackson referred this case to a magistrate judge

to resolve any discovery disputes. See Minute Order, Aug. 16, 2021. Before the Court today is

Defendant My Computer Career’s (“MCC”) Motion for Sanctions pertaining to Plaintiff Mr. Betz’s

deficient discovery responses. See ECF No. 26 (Def.’s Mot.). Upon careful consideration of the

motions and responses thereto, the applicable law, and the entire record, Defendant’s Motion for

Sanctions is GRANTED in part and DENIED in part.

I.     BACKGROUND

       A.     Procedural History

       Mr. Betz and MCC are engaged in a dispute over alleged violations of the Telephone

Consumer Protection Act’s “Do-Not-Call” provisions in 47 U.S.C. § 227(c). See ECF No. 1

(Compl.) ¶¶ 2–4. This law prohibits telephone solicitation to a residential telephone subscriber

who has registered his or her telephone number on the national “Do-Not-Call” registry. See 47

C.F.R. § 64.1200(c)(2). Mr. Betz claims that MCC “repeatedly harass[ed] [him] by calling his




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wireless telephone number ending in 8063, which is registered on the [] National Do Not Call

Registry.” Compl. ¶¶ 4, 19.

       Judge Jackson ordered discovery to be completed by December 7, 2021. See ECF No. 11

(Scheduling Order). On December 10, 2021, MCC notified the Court that Mr. Betz failed to

respond to any of MCC’s discovery requests. See ECF No. 18 (Joint Status Report). In response,

the Court ordered Mr. Betz to respond to the outstanding discovery requests. See Minute Order

(Dec. 14, 2021). The Court warned Mr. Betz that his failure to comply could result in the waiver

of objections and/or case dismissal. See id. On December 28, 2021, Mr. Betz produced discovery

responses. See Def.’s Mot. at 3. However, Mr. Betz’s responses were again deficient. See id. Mr.

Betz did not answer or object to many of the MCC’s discovery requests and produced non-

responsive documents. See id.

       On January 25, 2022, the Court held a hearing to remind Mr. Betz of his discovery

responsibilities and warn him—again—of the consequences of noncompliance. See Minute Order

(Jan. 27, 2022). The Court further warned Mr. Betz that Federal Rule of Civil Procedure 34

disfavors “boilerplate objections” and instead demands specific reasons for objections. See id.

The Court ordered Mr. Betz to respond to MCC’s discovery requests by February 9, 2022. See id.

       On February 8, 2022, Mr. Betz filed an emergency motion to extend the deadline to respond

to MCC’s discovery requests. See ECF No. 24 (Pl.’s Mot. for Ext.). MCC opposed Mr. Betz’s

extension request, see ECF No. 25 (Def.’s Opp. Mot.), and moved for sanctions in response, see

Def.’s Mot. After Mr. Betz showed good cause to justify his request, the Court allowed him to

complete his discovery responses by February 23, 2022 and denied MCC’s motion for sanctions

without prejudice. See Minute Order (Feb. 15, 2022).




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       On February 23, 2022, Mr. Betz responded to MCC’s discovery requests in a 37-page

document, which is attached as Exhibit 1. MCC subsequently renewed its motion for sanctions

via email to chambers. Mr. Betz’s discovery responses are detailed below.

       B.        Mr. Betz’s Discovery Responses

       The first nine pages of Mr. Betz’s discovery responses contain boilerplate objections. See

Exhibit 1 at 1–9. Mr. Betz then responded to each of MCC’s requests, responding substantively to

some but objecting entirely to most. See id. at 10–40.

                        Document Production Responses

       Mr. Betz produced no documents and repeated nearly verbatim the following objection to

most requests:

                 Plaintiff further objects to this request as duplicative and burdensome
                 to the extent that it calls for documents already produced to Defendant.
                 Plaintiff refers the Defendant to his Complaint all exhibits and pending
                 Amended Complaint and incorporates that pleading into these requests.
                 Subject to the above objections, Plaintiff has no other responsive
                 documents in its possession, custody, or control, other than those that
                 have already been produced to Defendant. Plaintiff further objects to
                 this request to the extent that it relies upon the terms all “documents”
                 and “third parties.”

See id. at 25–35.

       The only other response Mr. Betz made was an objection to Document Request No. 2 with

the following attorney-client privilege objection:

                 Plaintiff further objects to this request, whether broadly or more
                 narrowly construed, to the extent it seeks production of documents
                 protected by the work product doctrine, the privilege, or the attorney-
                 client privilege.

See id. at 25. He made this objection despite proceeding pro se.




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                       Interrogatory Responses

       MCC propounded 15 interrogatories. Mr. Betz responded partially to ten interrogatories—

numbers 1, 2, 3, 4, 7, 11, 12, 13, 14 and 15—and objected entirely to the other five—numbers 5,

6, 8, 9, and 10. His boilerplate objections generally tracked the following script:

               Plaintiff objects to this Interrogatory as compound. Plaintiff objects
               to this interrogatory on the grounds that it is overly broad and uses
               language that requires a search for information that far exceeds the
               scope of relevant information. The question does not request
               admissible evidence nor is it designed to lead to the discovery of
               admissible evidence. Plaintiff objects to the Interrogatories in their
               entirety to the extent any such instruction, definition, or
               Interrogatory is overbroad and unduly burdensome, particularly to
               the extent they seek “all,” “each,” or “any” documents, witnesses,
               individuals, persons, organizations, statements, or facts that refer or
               relate to various subject matters. Fed. R. Civ. Proc. 26(b)(1), (2). To
               the extent Plaintiff responds to such Interrogatories, Plaintiff will use
               reasonable diligence to identify responsive documents, witnesses,
               individuals, persons, organizations, statements, or facts in its
               possession, custody, or control, based on its present knowledge,
               information, and belief.

See id. at 17–20.

                       Request for Admission Responses

       Despite lodging some objections, Mr. Betz responded to all of MCC’s Requests for

Admission. See id. at 36–40.

II.    LEGAL STANDARD

       Federal Rule of Civil Procedure 37(b)(2) empowers courts to sanction a party that fails to

comply with a discovery order. Rule 37 “authorize[s] a wide array of sanctions, including staying

the proceedings pending compliance with a court order, taking certain facts as established,

prohibiting a party from introducing certain matters into evidence, finding a party in contempt of

court, and dismissing the action or any part thereof.” Peterson v. Hantman, 227 F.R.D. 13, 15

(D.D.C. 2005). The court also has the authority to award reasonable expenses, including attorney's


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fees, caused by the failure to obey a court order “unless the failure was substantially justified or

other circumstances make an award of expenses unjust.” Fed. R. Civ. P. 37(b)(2). “District courts

enjoy substantial discretion in deciding whether and how to impose sanctions under Rule 37.”

Gluck v. Ansett Australia Ltd., 204 F.R.D. 217, 220–21 (D.D.C. 2001) (quoting Alexander v. FBI,

186 F.R.D. 78, 88 (D.D.C. 1998)). “However, the court’s discretion is not without limits . . . [as]

any sanctions awarded must be proportional to the underlying offense.” Caldwell v. Ctr. for Corr.

Health & Pol’y Stud., Inc., 228 F.R.D. 40, 42 (D.D.C. 2005) (citing Bonds v. D.C., 93 F.3d 801,

808 (D.C. Cir. 1996)). “Even the most severe Rule 37 sanctions ‘may be imposed even against a

plaintiff who is proceeding pro se, so long as a warning has been given that noncompliance can

result’ in a sanction.” S.E.C. v. Setteducate, 419 F. App’x 23, 24 (2d Cir. 2011) (quoting Valentine

v. Museum of Modern Art, 29 F.3d 47, 50 (2d Cir. 1994)).

III.   ANALYSIS

       A.      Mr. Betz’s Objections

       “[T]he party objecting to discovery bears the burden of ‘show[ing] why discovery should

not be permitted.’” Alexander v. F.B.I., 193 F.R.D. 1, 3 (D.D.C. 2000) (quoting Corrigan v.

Methodist Hosp., 158 F.R.D. 54, 57 (E.D. Pa. 1994)). A party objecting to a document request

must “includ[e] the reasons” for the objection. Fed. R. Civ. P. 34(b)(2)(B). ‘“[B]oilerplate’

general objections to [] discovery requests, without more, fail to satisfy the [objecting party’s]

burdens under the Federal Rules of Civil Procedure to justify its objections to discovery.” DL v.

D.C., 251 F.R.D. 38, 43 (D.D.C. 2008).

                       Document Production

       Mr. Betz produced no documents (outside of recycling documents produced by MCC) and

made the same boilerplate objections to most of MCC’s document production requests. See



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Exhibit 1 at 25–35. Mr. Betz’s “blanket objections as to relevance, burdensomeness[,] and

attorney-client privilege . . . do not comply with Fed. R. Civ. P. 34(b).” Athridge v. Aetna Cas. &

Sur. Co., 184 F.R.D. 181, 190 (D.D.C. 1998). 1 Mr. Betz’s objections “are not applied with

sufficient specificity to enable this court to evaluate their merits . . . [and] this Court will overrule

[his] objections in their entirety.” DL, 251 F.R.D. at 43.

                        Interrogatories

        Mr. Betz provided no responses to interrogatories 5, 6, 8, 9, or 10, save his boilerplate

objections. See Exhibit 1 at 17–20. Furthermore, his responses to interrogatories 3, 4, and 7 are

“incomplete and inadequate” because they fail to answer the entire question. Shvartser v. Lekser,

321 F.R.D. 23, 24 (D.D.C. 2017). These eight responses are “far from the full answers required

by Rule 33.” Id. Thus, the Court will again “overrule [his] objections in their entirety.” DL, 251

F.R.D. at 43.

        However, Mr. Betz’s responses to interrogatories 1, 2, 11, 12, 13, 14 and 15 are sufficiently

detailed to survive this pleadings-level review. If MCC believes these objections are unsupported

by fact or law, MCC must file a motion to compel.

        B.      Sanctions

        The discovery rules include “various sanctions to provide incentive for parties to cooperate

and comply, as well as protection for litigants that encounter recalcitrant adversaries.” S.E.C. v.

Hiestand, No. 94-cv-2633 (RCL), 1997 WL 459853, at *6 (D.D.C. July 31, 1997). “Although the

court appreciates that [Mr. Betz] is pro se and provides some allowances for that, [his] pro se status

does not excuse [his] failure to make a good-faith effort to meet [his] discovery obligations.”



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  Mr. Betz’s attorney-client privilege objection is inapt given he is a non-attorney proceeding pro
se. See Banneker Ventures, LLC v. Graham, 253 F. Supp. 3d 64, 70 (D.D.C. 2017) (explaining
requirements for attorney-client privilege).
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Lekser, 321 F.R.D. at 24. Indeed, Mr. Betz was warned on multiple occasions of the consequences

of failing to respond adequately to the outstanding discovery requests. See Minute Order (Jan. 27,

2022); see also Minute Order (Feb. 15, 2022) (warning that failure to respond could result in Mr.

Betz’s objections being waived).

       MCC renewed its motion for sanctions against Mr. Betz pursuant to Rule 37. See supra.

Specifically, MCC requests a wide range of sanctions including dismissal of his case, application

of spoilation sanctions to the unanswered discovery requests, awarding MCC its attorney’s fees,

and/or waiving Mr. Betz’s objections to the discovery responses. See id. at 8–9. While Mr. Betz

has failed to provide adequate responses to many of MCC’s discovery requests, he has not yet

engaged in conduct necessitating the harsh sanctions of dismissal, spoilation, or awarding MCC

attorney’s fees. See Lekser, 321 F.R.D. at 24–25 (waiving objections but denying harsher

sanctions where plaintiff provided incomplete discovery responses and “missed all of the relevant

deadlines by a wide margin”). In fact, many of the cases MCC cites involve more egregious

conduct or impose sanctions less harsh than dismissal. See In re Keenan, No. 07-cv-451, 2007

WL 2405682, at *1 (S.D. Cal. Aug. 15, 2007) (denying a motion for extension after four previous

extensions of the deadline to file reply brief); United States v. Pospisil, 127 F. Supp. 2d 1059, 1062

(W.D. Mo. 2000) (granting default judgment only after defendant failed to respond to complaint

and ignored multiple court orders); Bryant v. Lazer Spot, Inc., No. 12-CV-00925-WTL, 2013 WL

587396, at *2 (S.D. Ind. Jan. 15, 2013) (recommending dismissal where plaintiff failed to

participate in two hearings and a telephonic status conference). Mr. Betz has not missed a court

hearing and has, at the very least, attempted to respond to court orders requiring him to supplement

his discovery obligations. As such, Mr. Betz’s objections are deemed waived and he is ordered to

respond to MCC’s requests for document production and interrogatories identified below within



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14 days of this Order. See, e.g., Lekser, 321 F.R.D. at 24. While spoilation sanctions and dismissal

are not appropriate now, “[Mr. Betz] is on notice that if [he] fails to comply with the Court’s orders

moving forward, ‘the Court will be forced to issue harsher sanctions.’” Lekser, 321 F.R.D. at 25

(quoting Davis v. D.C. Child & Family Servs. Agency, 304 F.R.D. 51, 64 (D.D.C. 2014)).

IV.     CONCLUSION

        For the reasons stated above, it is hereby ORDERED that MCC’s Motion for Sanctions is

GRANTED in part; it is further

        ORDERED that Mr. Betz shall provide complete responses to MCC’s Interrogatories 3, 4,

5, 6, 7, 8, 9, and 10 by no later than April 8, 2022; it is further

        ORDERED that Mr. Betz shall produce all documents in response to MCC’s Requests for

Production of Documents by no later than April 8, 2022. 2




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                                                        ZIA M. FARUQUI
                                                        UNITED STATES MAGISTRATE JUDGE




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 This is an Order issued pursuant to Local Rule 72.2. See Haughton v. D.C., 161 F. Supp. 3d 100,
102 (D.D.C. 2014). Pursuant to LCvR 72.2, any party may file written objections to this ruling
within 14 days after being served. The objections shall specifically designate the order or part
thereof to which objection is made, and the basis for the objection. The filing of oppositions and
replies shall be governed by LCvR 7(b) and (d). When considering an objection, the District Judge
will determine whether this Order is clearly erroneous or contrary to law. See LCvR 72.2(c); see
also Haughton, 161 F. Supp. 3d at 102.
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